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                             UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MAINE


  SHANE NOONAN, as Personal Representative        )
  Of the Estate of JEFFREY NOONAN,                )
                                                  )
                Plaintiff,                        )
  vs.                                             )         Civil No. 2:16-cv-14-JAW
                                                  )
  YORK COUNTY, et al.,                            )
                                                  )
                Defendants.                       )



                  STIPULATION OF DISMISSAL WITH PREJUDICE

        NOW COME the parties and hereby stipulate that the above entitled matter may be

  dismissed with prejudice, and without cost, interest, or attorney fees to any party of all

  remaining claims and defendants.



Dated: October 24, 2016                                 /s/ Celine Boyle, Esq.
                                                        Celine Boyle, Esq.
                                                        Counsel for Plaintiff
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Dated: October 26, 2016                                 /s/ Robert C. Hatch, Esq,
                                                        Robert C. Hatch, Esq.
                                                        Counsel for Correct Care Defendants
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(207)-774-2500
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Dated: November 1, 2016                                   /s/ Peter T. Marchesi, Esq.
                                                          Peter T. Marchesi, Esq.
                                                          Counsel for York County Defendants
WHEELER & AREY, P.A.
Twenty-Seven Temple Street
P.O. Box 376
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                                   CERTIFICATE OF SERVICE


        I hereby certify that on November 1, 2016, I electronically filed the Stipulation of

Dismissal with the Clerk of Court using the CM/ECF system, which will send notification of such

filing to all counsel of record.


                                                   /s/Robert C. Hatch
                                                   Robert C. Hatch, Esq.
                                                   Counsel for Correct Care Defendants


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